           Case 2:08-cr-00082-RSL        Document 166       Filed 04/22/08    Page 1 of 2




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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE
 8   _______________________________________
                                            )
 9   UNITED STATES OF AMERICA,              )                No. CR08-82RSL
                                            )
10                         Plaintiff,       )                ORDER GRANTING DEFENDANTS’
                v.                          )                MOTIONS TO EXTEND PRETRIAL
11                                          )                MOTION DEADLINE
     SHAWN VANELL PIPER, et al.,            )
12                                          )
                           Defendants.      )
13   _______________________________________)
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            This matter comes before the Court on defendants’ motions to extend the pretrial motion
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     deadline. See Dkt. ##115 (Daniel); #123 (Gary Kilcup); #126 (Scott); #131 (Barquet); #133
16
     (Anderson-Ross); #134 (Taylor); #135 (House); #136 (Nicola Kilcup); #137 (Russell). In their
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     motions, defendants Daniel, Gary Kilcup, Scott, Barquet, and Taylor move to extend the pretrial
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     motions cutoff from April 15, 2008 to April 29, 2008. This case involves an extensive amount
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     of discovery, and the government does not oppose an extension to April 29, 2008 for all
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     defendants. See Dkt. #124. Defendants Anderson-Ross, House, and Nicola Kilcup request an
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     extension of the pretrial motion deadline to May 15, 2008, which the government does not
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     oppose. See Dkt. ## 133, 135, 136.
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            Having reviewed the memoranda and declarations submitted by the parties, and the
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     remainder of the record, the Court finds an extension of the pretrial motions cutoff until
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     ORDER GRANTING DEFENDANTS’
26   MOTIONS TO EXTEND PRETRIAL
     MOTION DEADLINE
           Case 2:08-cr-00082-RSL       Document 166        Filed 04/22/08     Page 2 of 2




 1   May 15, 2008 for all defendants is reasonable and GRANTS defendants’ motions (Dkt. ## 115,
 2   123, 126, 131, 133, 134, 135, 136, 137).
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 4         DATED this 22nd day of April, 2008.
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                                                Robert S. Lasnik
 8                                              United States District Judge
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26   ORDER GRANTING DEFENDANTS’
     MOTIONS TO EXTEND PRETRIAL
     MOTION DEADLINE                                 -2-
